Case 2:04-cV-02537-BBD-STA Document 41 Filed 06/27/05 Page 1 of 3 Page|D 45

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IN THE UNITED sTATEs DISTRICT CoURT [` '“" ~~ ,)(,
FoR THE wEerRN DIsTRICT oF TENNESSEE 05 JU,M 2 _
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Plainrirr,
V_ No. 04_2537 Mi/An

CITY OF MEMPHIS, TENNESSEE,
et al.,

Defendants.

 

ORDER GRANTING MOTION TO EXTEND CERTAIN
SCHEDULING ORDER DEADLINES

 

Before the Court is Plaintiff’s Motion to Extend Certain Scheduling Order Deadlincs filed
on May 26, 2005. For good cause Shown, the motion is GRANTED. The Schedulin g Order

shall be modified to reflect the following deadlines:

Completing Written Discovery July 29, 2005
Depositions July 29, 2005
Expert Disclosures

For the Plaintiff June 29, 2005

For the Defendants July 29, 2005
Dispositive Motions Deadline Septembcr 15, 2005

The other deadlines established in the Rule 16(b) Scheduling Order shall remain in effect
Additionally, after reviewing Plaintiff’ s Motion, the Court is concerned that Plaintiff did
not comply with Local Rule 7.2(a)(l)(B) regarding consultation of counsel Local Rule
7.2(a)(l)(B) provides:
Consultation bV Counsel. All motions, including discovery motions, but not

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Case 2:04-cV-02537-BBD-STA Document 41 Filed 06/27/05 Page 2 of 3 Page|D 46

including motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be
accompanied by a certificate of counsel (with one copy) affirming that, after
consultation between the parties to the controversy, they are unable to reach an
accord as to all issues cr that all other parties are in agreement With the action
requested by the motion. Failure to file an accompanying certificate of
consultation may be deemed good grounds for denying the motion.

The certificate must contain the names of participating counsel and the date and
manner of consultation The burden will be on counsel filing the motion to
initiate the conference upon giving reasonable notice of the time, place and
specific nature of the conference If an opposing counsel or party refuses to
cooperate in the conduct of a conference, counsel must file certificate to that
effect, setting out counsel’s efforts to comply with this rule.

lt appears that Plaintiff’ s counsel only tried to contact Defendants’ counsel on the date the instant
Motion was filed. Local Rule 7.2(a)(l)(B) requires more effort by counsel. Plaintiff"s counsel is
warned that the failure to comply with Local Rules in the future could result in the automatic
denial of any future motions.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Q{M»LC 2'1£, ZDn(

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CV-02537 was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

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Honorable .l on McCalla
US DISTRICT COURT

